          Case MDL No. 3126 Document 1-2 Filed 07/29/24 Page 1 of 4


                            Schedule BEFORE THE
                      UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION


IN RE SNOWFLAKE                                       MDL DOCKET NO.
DATA BREACH LITIGATION

                               SCHEDULE OF ACTION

    Case Caption                     Court            Civil Action No. Judge
1   Jessie Leal v. Ticketmaster,     District of      2:24-CV-00046 Judge Brian
    LLC, Snowflake, Inc. and Live    Montana, Butte                    Morris
    Nation Entertainment, Inc.       Division

2   Emmanuel Chaidez v.              District of      2:24-CV-00050   Judge Brian
    Snowflake, Inc.                  Montana, Butte                   Morris
                                     Division
3   John Doe, Jean Ann Smith and     District of      2:24-CV-00051   Judge Brian
    Janice Stewart v. Snowflake,     Montana, Butte                   Morris
    Inc.                             Division
4   Maddalena Bowers v.              District of      2:24-CV-00055   Magistrate Judge
    Snowflake, Inc.                  Montana, Butte                   John Johnston
                                     Division
5   Richard Olivieri and Lauren      District of      2:24-CV-00056   Magistrate Judge
    Woon v. AT&T, Inc., AT&T         Montana, Butte                   John Johnston
    Mobility, LLC and                Division
    Snowflake, Inc.
6   John R. Wilkinson v.             District of      2:24-CV-00057   Magistrate Judge
    Snowflake, Inc.                  Montana, Butte                   Timothy J.
                                     Division                         Cavan
7   Jamila A. Armstrong v.           District of      2:24-CV-00058   Magistrate Judge
    Snowflake, Inc.                  Montana, Butte                   John Johnston
                                     Division
8   John Guiangiulio v. Snowflake,   District of      2:24-CV-00060   Magistrate Judge
    Inc.                             Montana, Butte                   John Johnston
                                     Division
9   Nicholas Layman and Elaine       District of      2:24-CV-00062   Magistrate Judge
    Cheatwood v. Snowflake, Inc.     Montana, Butte                   Timothy J.
                                     Division                         Cavan
10 Erin Lewis v. Snowflake, Inc.     District of      2:24-CV-00064   Magistrate Judge
   and AT&T, Inc.                    Montana, Butte                   John Johnston
                                     Division
11 Alex Mirvis v. Snowflake, Inc.    District of      2:24-CV-00065   Magistrate Judge
   and AT&T, Inc.                    Montana, Butte                   John Johnston
                                     Division
               Case MDL No. 3126 Document 1-2 Filed 07/29/24 Page 2 of 4


 12 Alessandra Conte v.              Northern District     3:24-CV-04443   Magistrate Judge
    Snowflake, Inc.                  of California, San                    Sallie Kim
                                     Francisco
                                     Division
 13 Santisha Bryant-Booker v.        District of           2:24-CV-00066   Magistrate Judge
    Snowflake, Inc.                  Montana, Butte                        Timothy J.
                                     Division                              Cavan
 14 Jessica Miller v. Snowflake,     District of           2:24-CV-00067   Magistrate Judge
    Inc. and AT&T, Inc.              Montana, Butte                        John Johnston
                                     Division
 15 David Hornthal v. Snowflake,     District of           2:24-CV-00068   Magistrate Judge
    Inc., AT&T, Inc. and             Montana, Butte                        Timothy J.
    AT&T Mobility, LLC               Division                              Cavan
 16 Cynthia Ryan, Rosalia Garcia     Central District of   2:24-CV-04482   Judge Sherilyn
    and Andrea Burns v.              California,                           Peace Garnett
    Ticketmaster, LLC and Live       Western Division
    Nation Entertainment, Inc.       - Los Angeles
 17 Amy Getman and Stephanie         Central District of   2:24-CV-04580   Judge Sherilyn
    Evangelista v. Ticketmaster,     California,                           Peace Garnett
    LLC and Live Nation              Western Division
    Entertainment, Inc.              - Los Angeles
 18 Jodi Caballero, Owen Conlan,     Central District of   2:24-CV-04625   Judge John F.
    Bryan Curtis, Kelley Davis,      California,                           Walter
    Charles Fitzgerald, Brendan      Western Division
    Healy, Chris Rippel and          - Los Angeles
    Michael Walters v. Live Nation
    Entertainment, Inc. and
    Ticketmaster, LLC
 19 Faisal Moledina v. Live Nation   Central District of   2:24-CV-04631   Judge Josephine
    Entertainment, Inc. and          California,                           L. Staton
    Ticketmaster, LLC                Western Division
                                     - Los Angeles
 20 Lorie DuPreez v. Ticketmaster,   Central District of   2:24-CV-04659   Judge Sherilyn
    LLC and Live Nation              California,                           Peace Garnett
    Entertainment, Inc.              Western Division
                                     - Los Angeles
 21 Corey Poluk v. Ticketmaster,     Central District of   2:24-CV-04671   Judge Josephine
    LLC and Live Nation              California,                           L. Staton
    Entertainment, Inc.              Western Division
                                     - Los Angeles
 22 Andrea Burns v. Ticketmaster     Central District of   2:24-CV-04674   Judge Sherilyn
    LLC and Live Nation              California,                           Peace Garnett
    Entertainment Inc.               Western Division
                                     - Los Angeles
 23 Eric Anderson, Tiffany Moore     Central District of   2:24-CV-04709   Judge Josephine
    and Dekima Thomas v.             California,                           L. Staton
    Ticketmaster LLC and Live        Western Division

                                             2
4869-5696-8403, v. 1
               Case MDL No. 3126 Document 1-2 Filed 07/29/24 Page 3 of 4


    Nation Entertainment Inc.        - Los Angeles
 24 Christina Xian v. Ticketmaster   Central District of   2:24-CV-04726   Judge Sherilyn
    LLC and Live Nation              California,                           Peace Garnett
    Entertainment Inc.               Western Division
                                     - Los Angeles
 25 James Curry and David            Central District of   2:24-CV-04773   Judge Josephine
    Freifeld v. Ticketmaster, LLC    California,                           L. Staton
    and Live Nation Entertainment,   Western Division
    Inc.                             - Los Angeles
 26 Kimberly Blake and Lamibia       Central District of   2:24-CV-04973   Judge Sherilyn
    Dunham v. Ticketmaster, LLC      California,                           Peace Garnett
    and Live Nation Entertainment,   Western Division
    Inc.                             - Los Angeles
 27 Chastine Dickey-Johnson and      Eastern District of   2:24-CV-02623   District Judge
    Serena Chapman v.                Pennsylvania,                         Chad F. Kenney
    Ticketmaster, LLC and Live       Philadelphia
    Nation Entertainment, Inc.       Division
 28 Shannon Spencer, Gerry           Central District of   2:24-CV-05760   Judge Sherilyn
    McAuley and Ryan Jossart v.      California,                           Peace Garnett
    Ticketmaster, LLC and Live       Western Division
    Nation Entertainment, Inc.       - Los Angeles
 29 Matthew Miller v.                Central District of   2:24-CV-05867   Judge Philip S.
    Ticketmaster, LLC and Live       California,                           Gutierrez
    Nation Entertainment, Inc.       Western Division
                                     - Los Angeles
 30 Alexis Morgan v. Cricket         Northern District     1:24-cv-03253   Judge Eleanor L.
    Wireless, LLC                    of Georgia,                           Ross
                                     Atlanta Division
 31 Alicia LeDuc Montgomery v.       Western District      3:24-CV-05581   Hon. Brian A
    AT&T, Inc.                       of Washington,                        Tsuchida
                                     Tacoma Division
 32 Maribel Cancino v. AT&T          Southern District     0:24-CV-61279   Judge William
    Corporation                      of Florida, Fort                      P. Dimitrouleas
                                     Lauderdale
                                     Division
 33 Lori Young v. AT&T Mobility,     Northern District     1:24-CV-03185   Judge Victoria
    LLC and AT&T, Inc.               of Georgia,                           M. Calvert
                                     Atlanta Division
 34 Robert Elliott v. AT&T, Inc.     Southern District     3:24-CV-01282   Judge Anthony
    and Does 1 through 10            of California, San                    J. Battaglia
                                     Diego Division
 35 Louis Moses, Jr. v. AT&T, Inc.   Southern District     3:24-CV-01283   Judge Linda
    and Does 1 through 10            of California, San                    Lopez
                                     Diego Division




                                             3
4869-5696-8403, v. 1
               Case MDL No. 3126 Document 1-2 Filed 07/29/24 Page 4 of 4


 36 Michelle Rehn v. AT&T Inc.      Central District of   2:24-CV-06224   Judge Fernando
    and Does 1 through 10           California,                           M. Olguin
                                    Western Division
                                    - Los Angeles
 37 Michelle Rehn v. AT&T Inc.      Southern District     3:24-CV-01284   Chief District
    and Does 1 through 10           of California, San                    Judge Dana M.
                                    Diego Division                        Sabraw
 38 Charles McGee v. Advance        Eastern District of   5:24-CV-00352   Judge Richard E.
    Auto Parts, Inc.                North Carolina,                       Myers II
                                    Western Division
 39 Emmanuel Chaidez v. Advance     Eastern District of   5:24-CV-00354   District Judge
    Auto Parts, Inc.                North Carolina,                       Terrence W.
                                    Western Division                      Boyle
 40 Don Smith v. Advance Auto       Eastern District of   5:24-CV-00356   Chief Judge
    Parts, Inc.                     North Carolina,                       Richard E.
                                    Western Division                      Myers II
 41 Dylan Joseph Dragone v.         Eastern District of   5:24-CV-00357   District Judge
    Advance Auto Parts, Inc.        North Carolina,                       Terrence W.
                                    Western Division                      Boyle
 42 Gregory Vogel v. Advance        Eastern District of   5:24-CV-00361   District Judge
    Auto Parts, Inc.                North Carolina,                       Terrence W.
                                    Western Division                      Boyle
 43 Gary Carr v. Advance Auto       Northern District     1:24-CV-05475   Honorable
    Parts, Inc.                     of Illinois,                          Lindsay C.
                                    Chicago Division                      Jenkins
 44 Brian Riley v. Advance Auto     Eastern District of   5:24-CV-00397   Chief Judge
    Parts, Inc.                     North Carolina,                       Richard E.
                                    Western Division                      Myers II
 45 Adam Levy v. Advance Auto       Eastern District of   5:24-CV-00404   Chief Judge
    Parts, Inc.                     North Carolina,                       Richard E.
                                    Western Division                      Myers II
 46 Caleb Aaron Cook v. Advance     Eastern District of   5:24-CV-00426   District Judge
    Stores Co., Inc.                North Carolina,                       Terrence W.
                                    Western Division                      Boyle
 47 Clark v. Advance Auto Parts,    Eastern District of   5:24-CV-00429   District Judge
    Inc.                            North Carolina,                       Louise Wood
                                    Western Division                      Flanagan
 48 Jonathan Weaver and Jennifer    Northern District     3:24-CV-01915   Judge Ed
    Carter v. Snowflake, Inc. and   of Texas                              Kinkeade
    AT&T, Inc.




                                            4
4869-5696-8403, v. 1
